Contract Negotiations
St. Joe, MO
Silgan Containers Corp. and Sheet Metal Worl~ers Local No. 2

                                     Company Economic Proposal #1
                                           (April 26,2012)

Non Economic proposals-All Tentative Non Economic Agreements(TA's) are included, and the Combined
Vacation Proposal Union 5 (Single days) and Company 8 (Vacation sell back) are included in this offer.

Company Economic
  • Term of Agreement
     May 7,2012 through May 8,2016
  • Wages
     Due to not having received any wage demands from the Union our initial position on wages is:
     Effective May 7/2012 a signing bonus of $250
     Effective May 7/2013 a bonus amount (to be determined) will be included in future offers
     Effective May 7/2014 a bonus amount/or wage adjustment(to be determined) will be included in
                              future ofFers
     Effective May 7/2015 a bonus amount/or wage adjustment(to be determined) will be included in
                              future offers
     New Hires employed on/or after May 7, 2012 in Job Brackets 1 through 4 shall be paid 10% less than
                              paid to employees hired prior to May 7, 2012
     Health &Welfare
     Plan Design
     Participation in the MO-KAN plan will conrinue during the term of this agreement provided the plan
     remains available through the Trust and employees absorb 100% of the yearly premium increase
     above 6%. If the current plan becomes unavailable, the Company has the option to select a lower cost
     MO-KAN plan if available or move coverage to another plan oftheir choosing.
     Employee Contributions
     EfFective June 1, 2012 and thereafter employees shall pay 20% ofthe premium.
     Production Unit Retirement Plan (Article 36)
     Employees shall no longer be eligible for the existing Retirement Fund and it shall be legally
     discontinued (terminated, merged,frozen or otherwise) as soon as possible and employees will
     become eligible for a Silgan no match 401(k) plan.
     401 Eli ib~illtY New employees will be eligible and shall automatically be enrolled in the 401(k) plan
                      following ninety(90) days employment.
     401 Formula Enrolled employees hired prior to May 7/2012 shall receive an automatic One Dollar
                      and Ninety-Eight Cents($1.98) contribution to their account for each hour worked
                      after becoming eligible, to a maximum oftwo thousand (2000) work/(including
                      vacation and holiday) hours per yeax. Employees may also voluntarily contribute to
                      the plan in whole (no fractions) per cent of pay amounts from 1% to 50% pre tax, but
                      not more than the IRS dollar limit.

                    Enrolled employees hired May 7/2012 or later have a difFerent company contribution
                    benefit. They shall receive an automatic 3% of pay after becoming eligible, to a
                    maximum oftwo thousand (2000) work/(including vacation and holiday) hours per
                    year. These employees may also voluntarily contribute to the plan in whole(no
                    fractions) per cent of pay amounts from 1% to 50%pre tax, but not more than the IRS
                    dollar limit.
       401 Rollover The plan allows certain rollovers from other qualifed retirement plans.

                                                                                           EXHIBIT F
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Continuation The Company's obligation to continue this benefit shall cease as a matter of contract
             and law upon the expiration of this collective bargaining agreement. Nothing herein
             prevents the Union from bargaining the Company's subsequent continuation ofthe
             retirement plan benefit in any renewal agreement.
